
		
				RE SUSPENSION OF CREDENTIALS OF CERTIFIED AND REGISTERED COURTROOM INTERPRETERS2022 OK 20Decided: 03/07/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 20, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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RE: Suspension of Credentials of Certified and Registered Courtroom Interpreters




ORDER


The Oklahoma Board of Examiners of Certified Courtroom Interpreters has recommended to the Supreme Court of the State of Oklahoma the suspension of the credentials of each of the Oklahoma Registered Courtroom Interpreters listed on the attached Exhibit for failure to comply with the annual renewal requirements for 2022.

Pursuant to 20 O.S., Chapter 23, App. II, Rule 18(c) and Rule 20(e), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date.

IT IS THEREFORE ORDERED that the credentials of each of the interpreters named on the attached Exhibit is hereby suspended effective the date of this order.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 7TH day of MARCH, 2022.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.



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Interpreters Exhibit A

Claudia Blevins

Lila Garcia

Alejandro Miranda

Tou Yang

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